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4 or,

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

_— «EASTERN DIVISION
DELTA ROMEO, INC., a Florida )
Corporation, )
Plaintiff, } No. “4 «
) Gr A
v. } Hon. JD
) aes
JET SUPPORT SERVICES, INC., a ) MAGISTRATE JUDGE ROSEMOND
Delaware Corporation, and TRANS ) JURY TRIAL DEMANDED
HELICOPTERE SERVICE, a French ) ne
Corporation, ° ) ty
: ) et on
Defendants. ) " oo
COMPLAINT ap
© yet

The Plaintiff, DELTA ROMEO, INC., by its attorneys, hereby complains of defendants,

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JET SUPPORT SERVICES, INC., and TRANS HELICOPTERE SERVICE, as follows: ~

THE PARTIES

 

1. Plaintiff, Delta Romeo, Inc., (“Delta Romeo”) is in the business of buying and
selling used aircraft. Delta Romeo is incorporated under the laws of Florida and has its principal
place of business at 1991 Industrial Drive, Deland, Florida.

2. Defendant, Jet Support Services, Inc., (“JSST”) is in the business of providing jet
engine maintenance and service contracts to owners of jet aircraft. JSSI is incorporated under the
laws of Delaware and has its principal place of business at 154 West Hubbard Street, Chicago,
Tiinois.

3. Defendant, Trans Helicoptere Service, (“THS”) is a French corporation with its

principal place of business in France. THS was the owner of a two-engine 1979 Cessna Citation

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11 550 aircraft, Serial #550-0074, (the “Citation II”) until it sold that aircraft to Delta Romeo.
. : 2 of 25 PagelD #:2

 

LA : VA
STATEMENT OF JURISDICTION
4, This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §

 

1332(a) and (c) because this is an action among citizens of different states and of a foreign state

and the amount in controversy exceeds $75,000.

 

GENERAL ALLEGATIONS
JSSI’s Engine Maintenance and Service Programs

5. ISSI’s business includes the provision of maintenance and service contracts on jet
engines for aircrafts (“EMS contracts”). ISSI describes itself as a company “dedicated solely to
the funding of engine and airframe maintenance events” and one which “pioneered the concept of
an independent hourly cost maintenance program.”

6. The types of services covered under JSS[P’s EMS contracts fall into two general
categories: (1) scheduled maintenance, including “engine overhauls” and “hot-section
inspections,” and (2) unscheduled maintenance, including engine failures and catastrophic
events.

7. According to manufacturer’s specifications, every aircraft engine is required to be
overhauled on a set schedule. That schedule is based on the number of cumulative hours of
operation of the engine and, with respect to certain component parts of the engine, the number of
cycles to which the engine is subj ected. (A “cycle” is an engine being started and stopped.) For
example, the engines on the Citation II are required to be overhauled after every 3500 hours of
operation. A single overhaul of an engine such as those on the Citation II can cost hundreds of

thousands of dollars per engine.
: : | Page 3 of 25 PagelD #:3

ad VS

8. The other scheduled maintenance covered by JSSI’s EMS contracts is the “hot-

section inspection.” According to manufacturer's specifications, a hot-section inspection is

required to be performed at the mid-life point between engine overhauls. Theréfore, for example,

_ the Citation II engines are required to undergo hot-section inspections 1750 hours of operation _

after each overhaul. A hot-section inspection does not involve the rework of the entire engine, as
would an engine overhaul. Instead, it involves maintenance and service on the combustible or
“hot” part of the engine. A hot-section inspection for engines such as those on the Citation IT
could cost in excess of $50,000 per engine.

9. JSSI’s EMS contracts take the form of “hourly cost maintenance programs.”
Under these programs, every month the customer pays JSSI a fee for each engine enrolled in the
plan. The fee is calculated based on the number of hours of operation of the engine during that
month multiplied by a flat hourly rate. Customers’ payments under JSSI’s EMS contracts are
sent to JSSI’s bank in Chicago, Illinois, where they are held in a trust account.

10. In exchange for the customer’s payments, JSSI promises to pay for the
performance of the scheduled majntenance activities, including a hot-section inspection and an
overhaul, at the scheduled points in the engine’s life. JSSI also promises to pay for the
performance of the covered unscheduled maintenance. JSSI does not perform the maintenance
work itself. Instead, the customer may chose from among any of the “approved” service centers.
If the customer has paid for all hours of the engine’s operation leading up to the performance of
those services, then the full cost of those services is covered by JSSI. Ifthe customer has not
paid for all hours of the engine’s operation, then JSSI will only cover the pro-rated portion of the
cost of any scheduled maintenance — the customer will have to pay the balance.

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11. In addition to hourly fees, the customer must pay a one-time enrollment fee and a

fee per engine for an initial inspection. According to JSSI’s marketing materials, for a two-

engine business jet aircraft, those fees can total approximately $30,000.

 

own marketing materials, that asset follows the sale of the aircraft unless and until the new
owner states that he does not wish to continue the program:

The program stays with the aircraft and transfers to the new owner,
operator or lessor, where they will enjoy 100% of the same benefits
enjoyed by the previous client. A small transfer fee of $2,500 is
required and is generally paid by the new owner, operator, or
lessor.

In the event the customer sells the aircraft to a purchaser not
wishing to continue the program, all amounts paid into the Trust,
less all expenditures made on behalf of the aircraft and/or engines,
less relevant expenses of the aircraft, fees and taxes may be applied
toward any replacement aircraft or to any other aircraft in the
client’s fleet not on a JSSI program.

See JSSI Frequently Asked Questions #13, a true and accurate copy of which is attached as

Exhibit A.

13.  THS enrolled each the Citation II’s engines under an EMS contract with JSSI for

a period of time before selling the Citation II to Delta Romeo. Under the pro-ration formula,

84.57% of the overhaul cost and 100% of all other maintenance services, including the hot-

section inspection and unscheduled maintenance, was to be covered by JSSI under that program.

12. Anengine’s enrollment in JSSI’s EMS contract is an asset. According to JSS?’s
 

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THS’s Sale of the Citation II to Delta Romeo
14. By Fall, 2000, THS listed the Citation II for sale with an aircraft broker called
Serendipity Aircraft Sales Limited (“Serendipity”). Upon information and belief, Serendipity
was THS’s agent for the advertisement and sale of that aircraft, and THS agreed to pay _
Serendipity a commission for the sale. | |

15. Delta Romeo was interested in the purchase of a business jet, and it used a
company called Dove Air, Inc. (“Dove Air’) to locate potential aircraft for purchase.

16.  Onor about October 10, 2000, THS, or Serendipity at THS’s direction and
approval, faxed to Dove Air on THS letterhead the written specifications for the Citation II. A
true and accurate copy of that facsimile is attached as Exhibit B. Those specifications included
‘the following statement:

ADDITIONAL INFORMATIONS:

Engine EMS Coverage Program for both engines:

Overhaul: 84.57% by JSSI . HSI [Hot-Section
Inspection]: 100% by JSSI

17. After receiving the specifications, THS and Delta Romeo engaged in negotiations
through Serendipity and Dove Air regarding the purchase of the aircraft. During these
negotiations, THS repeatedly stated that the EMS contract was included with the sale of the
aircraft and that the price of the aircraft was therefore justified. Neither THS nor Serendipity
ever stated to Dove Air or Delta Romeo that the EMS contract was not going to be included with
the sale of the Citation IL.

18. On or about December 14, 2000, THS and Delta Romeo agreed that THS would

sell the Citation II to Delta Romeo for $1,795,000. The closing of the transaction occurred over
 

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ase’ 1:01-C\.Od : : /01 Page 6 of 25 PagelD #:6

the next several weeks through the delivery of the payment and necessary documents to an

__escrowee. Delta Romeo took delivery of the aircraft from THS on or about January 19, 2001.

 

19.  Inreaching the agreement to purchase the Citation II, Delta Romeo relied, and
THS intended that it so rely, on THS’s representations that the EMS contract was included as
part of the sale of the Citation IL. |
THS Reneges on the EMS Contract

20. Soon after taking delivery of the aircraft, Delta Romeo discovered that THS was

_ in arrears in its payments on the EMS contract with JSSI by approximately 850 hours. Delta

Romeo then inquired of THS, through Serendipity, about this discovery. THS responded,
through Serendipity, that not only was THS not going to make its payments current, but that it
had also instructed JSSI to transfer the funds pertaining to the EMS contract to another of THS’s
aircrafts and that those funds should not be used on behalf of the Citation II’s engines.

21. Despite repeated additional inquiries from Delta Romeo, THS has not offered any
reason or justification for its refusal to allow the EMS contract to transfer to Delta Romeo or for
its instructions to JSSI preventing Delta Romeo from obtaining its interest in the EMS contract.

92. Delta Romeo has informed JSSI that Delta Romeo owns the interests arising from
the EMS contract and the funds relating to that aircraft.

23.  JSSlhas refused either to transfer the funds relating to the EMS contract to
another THS aircraft or to allow Delta Romeo to use those funds with respect to the engines on
the Citation IL. Specifically, JSST has written to both THS and Delta Romeo as follows:

We have received conflicting directions from you with respect to
the JSSI Contract and the balance of funds remaining in our trust

account in connection with the JSSI Contract. . .. Quite simply,

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we ask that you resolve this disagreement between you, and inform

us of your agreed-upon resolution of this matter. As long as you

are in agreement, we will be happy to comply with your direction. .
~Gntil you are able to come to a resolution of this matter, wewill

continue to hold the balance of funds in our trust account.

See Letter from JSSI, dated April 2, 2001, a true and accurate copy of which is attached as

Exhibit C.

COUNT ONE — DECLARATORY RELIEF
(Both Defendants)

24, The allegations of Paragraphs 1 through 23 are repeated and realleged as if fully
set forth in this Paragraph 24. |

25. Delta Romeo has a present property interest in the EMS contract covering the
Citation II’s engines. That property interest constitutes an asset belonging to Delta Romeo.

26.  THShas wrongfully claimed an ownership interest in the EMS contract and/or the
funds held by JSSI relating to that contract. THS has also wrongfully directed JSSI not to
transfer the interests arising from the EMS contract to Delta Romeo.

27,  IJSSI has wrongfully refused to acknowledge that Delta Romeo is the owner of
that asset, to transfer formal ownership of that asset to Delta Romeo, and to allow the balance of
funds relating to the EMS contract to be used for the maintenance and service of the Citation II’s
engines.

98.  Anactual controversy thus exists between Delta Romeo, JSSI and THS regarding
the ownership of the asset described above. Pursuant to 28 U.S.C. § 2201, this Court is vested

with the power to declare the rights and liabilities of the parties and to adjudicate the final rights
 

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and obligations of all parties and to give such other relief as may be necessary to enforce such

rights. _ oe ne

WHEREFORE, plaintiff, DELTA ROMEO, INC., respectfully requests that this Court .
___ enter judgment in its favor and against defendants, JET SUPP ORT SERVICES, INC., and
TRANS HELICOPTERE SERVICE, and further:

A. Determine and adjudicate that DELTA ROMEO, INC. is the rightful owner of the
EMS contract with JET SUPPORT SERVICES, INC., and all rights arising therefrom;

B. Determine and adjudicate that TRANS HELICOPTERE SERVICE has no further
interest in or ownership of the EMS contract, including the balance of funds relating to that |
contract;

Cc. Grant such other relief as may be just and proper.

COUNT TWO — BREACH OF CONTRACT AND/OR WARRANTY
(Against THS Only)

29. The allegations of Paragraphs 1 through 28 are repeated and realleged as if fully
set forth in this Paragraph 29.

30.  THS and Delta Romeo entered into a valid and enforceable contract as described
above.

31, Delta Romeo has satisfied all conditions required under that contract.

32.  THS has breached the contract and/or the warranties made in connection with that
contract in the following ways: |

(a) by failing to cause and/or by refusing to allow the transfer of the EMS

contract to Delta Romeo;
 

61 Page 9 of 25 PagelD #:9

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(b) by allowing the EMS contract to fall into arrears in an amount equal to
approximately 850 hours of operation.
33. These breaches have caused Delta Romeo to be damaged in its money and

property in an amount in excess of $690,000.

WHEREFORE, plaintiff, DELTA ROMEO, INC., respectfully requests that this Court
enter judgment in its favor and against defendant, TRANS HELICOPTERE SERVICE, and
further award compensatory damages in an amount to be determined, and grant such other relief
as the Court determines to be just and proper.

COUNT THREE —- COMMON LAW FRAUD
(Against THS Only)

34. The allegations of Paragraphs 1 through 33 are repeated and realleged as if fully
set forth in this Paragraph 34.
35, Defendant, THS, made and/or caused to be made the following misrepresentations
of material fact, more fully described above:
(a) that the JSSIEMS contract covering the Citation II’s engines was included
as part of the sale of the aircraft; |
(b) that the Citation II’s engines had an 84.57% coverage by the JSSI EMS
contract.
36. Defendant, THS, knew that these representations were false, or THS recklessly

disregarded whether those statements were true or false.
* : : 01 Page 10 of 25 PagelD #:10

37. Defendant, THS, intended that plaintiff, Delta Romeo, rely on those
misrepresentations in agreeing to purchase the Citation II at the price and the terms upon which
the parties agreed.

38. Plaintiff, Delta Romeo, actually relied on those misrepresentations in agreeing to
purchase the Citation II, and plaintiff was thereby injured in its money and property in an amount
in excess of $690,000.

WHEREFORE, plaintiff, DELTA ROMEO, INC., respectfully requests that this Court
enter judgment in its favor and against defendant, TRANS HELICOPTERE SERVICE, and
further award:

(a) compensatory damages in an amount to be determined;

(b) punitive damages in an amount to be determined,

(c) and such other relief as the Court determines to be just and proper. .
PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY ON ALL COUNTS.

Respectfully Submitted,

DELTA ROMEO, INC.

mC $e

Sor Its Attorneys ~-———>

Corey B. Rubenstein

William Ziegelmueller
STETLER & DUFFY, LTD.
140 S. Dearborn St., Suite 400
Chicago, IL 60603
312-338-0200

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EXHIBIT A
Why Jools

see Fue Why JSSI?. [Programs.

 

 

 

 

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©
a JSSI® Frequently Asked Questions
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s Table of Contents
) 4. Who is Jet Support Services, inc. (JSSIF?
2. Who manages JSSI?
3. Why do I need the JSS program?
4. Why can't! do a program myself, in house?
5. Where does the money I pay go?
6. Bottom line, what does it cost me in actual dollars to get on your program?
7. What is the pro-rata?
8. What is a buy-in?
9. What is the Trust account?
40. How is the money in the Trust protected?
41. Does JSSPhave protection against unforeseen and unidentifiable engine losses?
12. Ifwe enroll in the program, are we committed to a specific repair facility? .
43. What happens when | sell my aircraft?

44. Dol need the JSSPprogram on a brand new aircraft?

45. When does my coveragé begin?

46. Dol have options for engine coverage?
17. My engines are due overhaul shortly. Why not wait for the completion of the overhaul before enroll

48. What other hourly cost maintenance programs does JSSFprovide?
49. How do! enroll my aircraft?

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4. Who is Jet Support Services, Inc. (JSsi®?

 

Inc. (sss), founded in 1989, is a service company dedicated solely to the funding of engine and
events on turbine powered aircraft. The company pioneered the concept of an independent hourly

of engines and aircraft.

Jet Support Services,

airframe maintenance ‘
cost maintenance program covering all types

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http://www.askjssi.con/Info/F ags.html
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2. Who manages Jssi@?

JSSI® is managed by a group of aviation and financial professionals with significant experience in all aspects of the

aviation community. References are available upon request.

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3. Why dol need the Jssi® program?

 

r lender in a service oriented engine maintenance program which

The JSSI® program puts the owner/operator, lessor, 0 0

) provides: |
e Budget stability for flight departments and their parent corporations;
e Significantly increased resale value and greater ease of resale in any market environment;

e Protection against costly unscheduled events; and,
e Professional maintenance management of the engines and/or airframe.

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- 4. Why can't | do a program myself, in house?

i Before any program can offer the benefits similar to the program by JSSI®, you must be assured your program will

the value of your aircraft at the time of resale; provide you with

 

 

provide a maintenance schedule which will increase

loaner engines when necessary as well as other exchangeable airframe components; provide appropriate expert
technical support or assistance; and budget for your scheduled and unscheduled engine or airframe maintenance so
I surprises. Any owner/operator with turbine powered aircraft wishing to improve the use and

there are no financia
t afford to be without a program by JSst®.

operation of the engines and airframe canno

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5. Where does the money | pay go?

nk (a division of Bank One) in Chicago, illinois. The funds

d to the trust account less a management
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Your funds are sent to a lock box at the American Nationa! Ba
are deposited in a master account until they have cleared and then are disburse

fee.

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al dollars to get on your program?

 

 

§. Bottom line, what does it cost me in actu

 

http://www.askjssi.com/Info/F aqs.html 6/8/01
Why JSSI!
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n enrollment fee based on aircraft type. The enrollment fee is not per engine, put for the entire

aircraft! Additionally, each client will pay for a Pre-Induction Diagnostic Survey (PIDS) for each engine, unless brand
new, costing approximately $2,500 per engine. The PIDS tests are essentially health exams for the engines. These are th
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only initial or “up front” fees for enrollment.

Each client will pay a

nd

 

Clients with other than brand new or zero timed engines will be asked to pay 4 pro rata share of the first Hot Section
{MPl) and Overhaul (CZ!) [see "What is the pro-rata7"]. You may also have pro ratas on cycle limited components. Alf!
clients will, of course, pay the hourly usage fee. There are no other fees of any sort. JSSI® will pay for all future
recommended/mandatory service bulletins, Airworthiness Directives, loaner engines, routine maintenance parts,
scheduled and unscheduled maintenance from contract's inception forward. |

 

if
Let us review this once more, looking at the maximum exposure for an in-service aircraft: | |
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) Clients will pay a maximum of $25,000 enrollment fee. Clients will pay approximately $2,500 per engine for the PIDS. The.
approximate total for an in-service business jet to get on the program with 2 engines is $30,000. Once on the program,

clients will be responsible for a pro rata percentage of the first Hot Section (MP!) and Overhaul (CZ), and cycle limited

components as they occur. All unscheduled events, including future recommended/mandatory service es and

Airworthiness Directives are paid by JSsi®. |

   

Back to Top | a,
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7. What is the pro-rata?

 

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In lieu of paying a large sum of money to bring engines financially current (a "buy-in"), we offer a pro rata or cost sharin:
plan. Under the pro rata system the client pays a percentage of the cost of the first Hot Section (MPI) and a percentage of
the cost of the first Overhaul (CZI) as these events occur. The client is paying for the hours the aircraft has flown prior to
enrolling in the program. For example, a client with 50¢ hours flown, a 1400 Hot Section (MPI) interval, and a 4200 hour
MPI) and 11.90% of the first Overhaul (CZ!). The Jssi®

TBO would be responsible for
program would be responsible for ali subsequent Hot Sections (MPI) and Overhauls (CZ)). Furthermore, the program
cover 100% of all unscheduted mechanicai failures, Service Bulletins, Airworthiness Directives, and loaneriengines, from

) contract’s inception. |

What does this pro rata look like in dollars? — | |

Using the above pro-rata ercentages as examples [35.7% Hot Section (MPI), 11.90% Overhaul (CZI)], and lassuming the
-rata share would be $23,205. If the Overhaul (CZI) is $185,000, the

Hot Section (MPI) cost is 65,000, the client's pro 2 ; | 2 Z
client's pro-rata share would be $22,015. By way of comparison a buy-in for a like aircraft, assuming an engine rate of
approximately $100 per hour could easily be $100,000 of immediate cash, versus $45,220 over as much as 3700 hours

remaining to the first Overhaul.

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8. What is a buy-in? : | | |

htto://www.askissi.com/Info/F- aqs.html 6/8/01
Why JSSI?
||
" aircraft, JSSi® will provide a pro rata reduction quotation. This one;

tages and give JSSI® complete financial responsibility for
ly financial responsibility will be the

|!

To eliminate the pro ratas existing on an “in-service

time payment will serve to eliminate all of the pro rata percen
all future engine maintenance covered under the program. The customers on
monthly payment of the hourly usage fees once the "buy-in" has been paid.

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9. What is the Trust account?

is administered by the American National Bank, as trustee and is a third party irrevocable Trust. In

effect, American National Bank keeps watch over the money. The trustee is authorized to make disbursements for

aircraft repairs. The trustee will only make disbursements for repairs upon receipt of an affidavit attached to a written
> invoice. When documentation is received, the Trust wires funds to the repair facility. The Trust is net an asset of the
the corporation, may not use the funds for any other purpose than engine repair,

The Trust account

|

corporation (Jet Support Services,
maintenance, and trust related taxes and expenses). The Trust is permitted to invest funds in U.S. Government and othe
||

Trust quality securities.
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40. How is the money in the Trust protected? |
As previously stated, the Trust is not an asset of the corporation and therefore, not subject to claims of JSSi@s
creditors. JSSI® has grown steadily since its founding in 1989 and prides itselfon a strong balance sheet, ample
reserves in the Trust, and a highly conservative operating policy. Should JSSI® cease operations, the trustee will
distribute to you that portion of funds attributable to your aircraft, less distributions previously withdrawn for repairs,
replacement, associated fees and taxes. In essence, your funds are being held for the purpose for which this program
i |

was established.

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11. Does JSSI© have protection against unforeseen and unidentifiable engine lpsses?

Yes. By way of Associated Aviation Underwriters, JSSI® has obtained insurance against unforeseen, sudden physical
ifically exempted by the JSSI® Agreement. ;
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loss or damage from causes not spec

 

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: : age 15 of 25 PagelD #:15
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gram, are we committed to a specific repair facility? | |

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pivice provider

42. \f we enroll in the pro

policy to allow the client to cho

 

ose their own service provider so long as thes

 

Nol It has always been our

 

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in the United States.
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43. What happens when I sell my aircraft?

new owner, operator, or lessor.
. |

 

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14. Do | need the Jssi® program on a brand new aircraft?

 

maintenance unless,

one warranty plan for a specific component, and without warranty protection on a different component.
|

expiration of a warranty is completely seamless to the owner/operator in terms of op

do is provide the 0
manufacturer's warranty. ;

In summation, without the

maintenance. Then, when the manufacturer's warranty expires, there is absolutely no coverage.

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45. When does my coverage begin?

Your coverage beg

Diagnostic Survey
from the first day against any unforeseen, sudden physical loss or damage necessitating immediate repair or

replacement.

 

 

http://www.askjssi.com/Info/F aqs.html

The new engine/aircraft warranty is the principal way of guaranteeing the owner/operator that their aircraft and/or eng
will perform as designed. However, the manufacturers' warranties do not cover scheduled maintenance or major
inspections. Once the manufacturer's warranty expires, the owner/operator is no longer covered for unscheduled

of course, the owner/operator is on the JSSI® program from from inception. Owners/operators
should also note the varying warranty periods attributed to specific aircraft components. Itis highly possible to be unde

Jet Support Services accrues funds for all scheduled events beginning with the very first flight hour.As such, the
erating efficiency. What JSSI®

wnerfoperator with an hourly rate that recognizes the protection afforded while an aircraft is under th

JSSI® program, the owner/operator is covered for unscheduled events, but not regular

ins immediately for all scheduled repairs. In addition, your engines will undergo a Pre-Induction
(PIDS) to verify their current operating condition. If the engines pass the PIDS, they will be covered

is approved by the Original Equipment Manufacturer (OEM), and the appropriate civi! aviation authority, such as the FAA

The program stays with the aircraft and transfers to the new owner, operator or lessor, where they will enjoy 100% of the
same benefits enjoyed by the previous client. A smali transfer fee of $2,500.00 is required and is generally paid by the

|
In the event the customer sells the aircraft to a purchaser not wishing to continue the program, all amounts paid into the
Trust, less all expenditures made on behalf of the aircraft and/or engines, less relevant expenses of the aircraft, fees and

taxes may be applied toward any replacement aircraft or to any other aircraft in the client's fleet not on a JSSI® program.

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Why JSSI?
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46. Do | have options for engine coverage? |

JSSI® recently introduced four new engine
JSSPCOMPLETE is our premier program covering all aspects of turbine engine mainte
greatest amount of flexibility in designing special programs for special missions. JSSPSELECT allows the |

events and willing to accep
programs are available today.

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before enrolling?

Unscheduled events don't always wait until after a major inspection

that time period leading up
engines approaching a Hot Section (MPI) or major Overhaul (CZI). Under the EZ program, the owner!

half the regular hourly ra
cost of the upcoming scheduled event. Prior to the scheduled event, JSS
Any money paid in prior to the scheduled event and no
the pro-ratas or toward future flight hours.

|

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48. What other hourly cost maintenance programs does ussi® provide?

the entire aircraft: engines, APUs, avionics, airframe component systems,

While our programs do not, as yet, cover the entire general aviation fleet, we are moving in that direction.,

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49, How do | enroll my aircraft?

 

 

Call your local JSSI® sales repres

hit: /urww askissi.com/Info/F aqs.html

hourly cost maintenance programs to better serve the needs of ithe industry.
nance and allowing for the

owner/operator the option of eliminating accruals of funds for life limited component replacement while still providing
coverage for unscheduled mechanical failure. JSS/TERM is designed for the owner/operator with a specific time
parameter of operation and no interest in accruing funds for events which will likely occur after the aircraft is sold or

returned to a lessor. Lastly, JSSPUNSCHEDULED is designed for the client wishing only protection from unsc
t all budgetary responsibilities for scheduled maintenance. All four of these inventive new

heduled

to occur. In fact, they are more likely to occur during

to the major inspection. For this reason, JSS(® offers a unique program called "EZ" for
‘operator pays one-

te until the upcoming Hot Section (MP!) or Overhaul (CZI}, and they are responsible for the total
(® covers alf unscheduled maintenance items.
t spent for unscheduled maintenance may be appl ed to reducing

hourly cost maintenance program provider to introduce the concept of protection for
and much more.

entative or dial 1-888-ASK-JSSI and someone will quickly get you on the path to

|
17. My engines are due overhaul shortly. Why not wait for the completion of the overhaul
| |

 

 

6/8/01
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total peace of mind when it comes to maintenance expenses for your aircraft.
|
|

Back fo Top

Click Here For our Contacts.

 

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http://www.askissi.com/Info/Faqs.html 6/8/01
EXHIBIT B
 

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Contact: yes Biun:
Phone : (33) 467 266 833
Fax. (33) 467 OCT 907

 

{ 1979 -CESSNA CITATION 11 §50
a, 2. LLSAN §$50-0074 EX-THS (22)

 

 

ms INTERIOR: Qvew 1996) Le
_. .. . Fire blocked; Grey Leather seats, Grey carpet wi Pink triming, Grev Laquedwood, Light Grey
Headliners (Washable)...
8 passengers confi igucation, 2 Folding tables, R11 Slim-Line Retreshment conter w! Kot cup
o* R/T SlaneLine Galiov w/ Drawers, CD/Stereo Laser, Mid-Pyrumid Cabinet; Toilet -

cl tes BY Folding door, Coskpiteurnin.

EXTERIOR : (New (996)
J. White end. Dark Grey ee 1 ‘allow rimming Derk Grey Body and Wings

‘Aiveraft Luxembourg repistered, No Damage history. All Original Log Books Availables.
ae Operated in zar Orsi and: Main: ‘eried Tar Tar 145. Under Furopean Fublic Transport Regu, anoris. ee

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Case. 1:01-cyv-O4684 Document +:ateabitec:-06/20/04 Page 21 of 25 PagelD #:21

- FAK NO.

 

‘1979 CESSNA “CIFATION lisse!

; SIN’ 450-074. LX- ERS | Eh D)

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m “Cycles Since Overbeial 1.787. - 1,836
. AVIONICS : io - on .
Duel. VHE KING KY 196B 6 33 kHz) - “Primus 300 Color Radar
Dual COLLINS VIR-31.4 Nays. 7  Altimde alert + Preseléct ~
Dual SPERRY RDSO HSI(S") lntercom Cockpit-Cabin
Due) Compass Systern SPERRY’ Cl4D D6 —-GPS GARMIN J5£ w/ Coupler _-
- “Dus! COT.LINS.DME 40 | ELT ARPEX 110-47 °
* Dual Ty ransponiders COLLINS TDR 90. a- CVR1 SCR $00-30 a
Dual RMECOLLINS 332C:10 ss’ Flight Director‘ Autopilot Systems” —-
. °° Radar Altimeter SPERRY AA-215 _ _ SPERRY SPZ £00 ae
"mm HE KING KHF 950 w! Motorola Seicel Digital Clock
__: GPWS MK II: Do Loe
ADDITIONAL FEATURES:
_ 36! ‘Factory Cargo Door __—Thrust Reversers
oo 2 At conditioning” ranson Gross weight increase (14. 700 Lbsy ©
ot. Turbines Fan Synchro. Empty weight-Increase (11.000 Lbs). -
64 Cb FtOxygen - — Optional Stall Warning a
~ Anti Skid System —Taileone baggage Comp. wi ski nibe”

" digae enpisl 10 xv de laftemnde sawda

BF Goodrich wheels and

brakes 2 Logo Lights

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‘Electric: Ambulance-Outter (50 Aanps)

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SS. a

184 Wary Puamann Burne 505
Orcate, LuNod B15

B00, 622.6266

 

 

 

 

April 2; 2001----~
Deits Romes, Inc, Trans Helicopters Sarvioe
1991 Intustrial Drive ; Se
Deland. Eh. 32724 , Taming) 6.2-R. Bepn Franca 69500
Attention!_yy, David Robinson Atention: Mr, piche) Dreyfus
Re: Jet Support Services, Inc.
Gentlemen:

It hua coms to our ettentlon that a gemmine disayreement bas arisen between you regarding
the recent sale by Trans Helicoptere Service (ths "Seller”) to Delta Romeo, its. (the “Pyrchaser”)
of » certain Citation wircraft hsving s serial number of 550-0074 and a regisnation marber of LX-
HS (the "Aire ft"). As you are mwara, the Airoraft’s cogines bave been enrolled for some time on

the JSS! hourly cost maintenance program prrmuant to # written contract with Jet Support Services, —

Inc, (the "T88I Contracr’). Tt is ons urxterstanding that the disagreement selatca 9 Whather the JSSI
Contract was sold to the Purchaser with the Aircraft or whether it continues to be an asset owned by

the Seller, We have received conflicting directions from you with respect to the JOS] Contract anti.

the balance of finds remaining in our trust account in connection with the JB] Contract, The Selier

‘thas asked that we transfer the mmuizing fimds to be used for the benefit of mothar of the Seller's

airctaft, The Purchaser haa azked that we take all nesosssary steps in order fo arcange for fhe

pusignment of the JSS] Contrast to the Purchaser and that the balance of finds be utilized for the
repeir end maintenance of the Aieraft going forward.

Quite simply, we ask that you resolva this disagreement between you, end inform ue of your
agreed-upon resolution of this matter. As long gs you arn in agrectnent, we Will ba happy to comply.

“with your direction. However, given that we arereceiving conflicting directions from you and that

the writren documents provided to us relsting to the sale of the Aircraft do not conclusively resolve
this inmus, we ave Uncomfortable taking eny action at this tine.

‘Until you are able to come to a resolution of this matter, we will continus to bald the balance

of funds in cur trust account, Thank you for your antemtion to this matter

. ‘Very truly yours, -
Aaes
’ President

oct Davi Briggt-Wilton

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Your Plane, four Fan. 7

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Case 101 -CV-0A6 eaealeeinime ht Hla ee—O6/2 6/84 Pag
: : e 24 of 25 PagelD #:24

In the Matter ° of

TR Lomtéc , Ine.

Vv,
Ser Supper’

APPEARANCES ARE HEREBY FILED B

Noee/
UNITED STATES DISTRICT COORT

NORTHERN DISTRICT OF ILLINOIS

PACKETED

YUN 2 2 2094

O1C 4684

Case Number:

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MAGISTRATE JUDGE ROSEMOND —

 

 

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PagelD #:25

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JS 44 —™ A a 8 4
ny Kat O~emi COVER SHEET = LC 40

‘the JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use

 
 

of the Clerk of Court for the purpose of initiating the civil dockel sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
|. (a) PLAINTIFFS ‘ DEFENDANTS JUDGE ALESIA
Delta Romeo, Inc. Jet Support Services, Inc.,

and Trans Haylcenters SPTULE ROSEMOND

(b) county oF RESIENCE OF FiRST LISTED PAINTIFFVOlusia County, FEL county of RESIDENCE’ OF FIRST LISTED DeFENOANT COOK County, IL
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
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(C) ATTORNEYS (FIRM NAME, ADORESS, AND TELEPHONE NUMBER) . ATTORNEYS (IF KNOWN)
Corey B. Rubenstein, Stetler & Duffy, Ltd JUN 2 2 2001
140 South Dearborn Street, Suite 400
Chicago, IL 60603 no)
gor 312-338-0200 os
ll. BASIS OF JURISDICTION (PLACE AN “x” INONE BOxONLY) | IIL, CITIZENSHIP OF PRINCIPAL PARTIE (PLAGE AN “x” INGNE BOX FOR PLAINTIFF
(For Diversity Cases Only) ANG-ONE BOX FOR-DEFEN
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D2 U.S. Government me Diversity ; / Citizen of Another State O2 02 Incorporated and Principal Place M5 Os
Defendant (Indicate Citizenship of Parties of Business In Another State:
in item I} - : : . =. cn
Citizen or Subject of ads 26 Foreign Nation = coe os
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IV. ORIGIN {PLACE AN *X" IN ONE BOX ONLY) Appeal to District
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Proceeding State Court Appellate Court Reopened (specity} Litigation Judgment
V. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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C195 Contract Product Liability (2 360 Other Personal Injury Product Liability Act CO 862 Black Lung (923} D 893 Environmental Matters
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, - , 0 730 Labor/Mgmt. Reporting | 1) 865 RSI (405(9)) Information Act
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1558 Prison Condition Security Act 26 USC 7609

 

 

 

 

 

 

VI. CAUSE OF ACTION (CHE THE US. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE,
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)

+ Declaratory Relief, Breach of Contract , and Common Law Fraud.

 

- DEMAND $ CHECK YES only if demanded in complaint

Vil. REQUESTED IN CHECK IF THIS IS A CLASS ACTION -
F000, oHury DEMAND: @ YES ONO

o . .
COMPLAINT UNDER F.R.C.P 23 Tn excess of $69
VIII. Thiscase J is nota refiling of a previously dismissed action.

is a refiling of case number reviously dismissed by Judge
—_____ PB

 

DATE SIGNATURE OF ATTORNEY OF RECORD
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@&- 20-07 “in YP henge. GED

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Vv
UNITED STATES DISTRICT COURT -
